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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

In re                                                                    Chapter 7

MLCJR LLC, et al., 1                                                     Case No. 23-90324

         Debtors                                                         (Jointly Administered)

    [PROPOSED] ORDER PURSUANT TO BANKRUPTCY CODE SECTION 363 AND
     BANKRUPTCY RULE 9019 APPROVING SETTLEMENT WITH THE HEDRON
       PARTIES & UNDERWRITERS; AUTHORIZING THE DISTRIBUTION OF
       THE PROCEEDS FROM THE SETTLEMENT AND THE RETENTION OF
          FUNDS BY THE ESTATE FREE AND CLEAR OF CLAIMS AND
           ENCUMBRANCES; APPROVAL OF CONTINGENCY FEE AND
          EXPENSES OF FISHMAN HAYGOOD LLP ON A FINAL BASIS;
                       AND FOR RELATED RELIEF

                                          (Related Docket No. ____)

         Before the Court is the Trustee’s Motion Pursuant to Bankruptcy Code Section 363 and

Bankruptcy Rule 9019 for Approval of Settlement with the Hedron Parties & Underwriters;

Authorizing the Distribution of the Proceeds from the Settlement and the Retention of Funds by

the Estate Free and Clear of all Liens, Claims and Encumbrances; Approval of Contingency Fee

and Expenses of Fishman Haygood LLP on a Final Basis; and for Related Relief [Docket No.

____] (the “Motion”) filed by Michael D. Warner, appearing solely in his capacity as the duly

elected and qualified Chapter 7 Trustee (the “Trustee”) for the administratively consolidated

estates of Debtors MLCJR, LLC, Cox Oil Offshore, L.L.C., Cox Operating, L.L.C., Energy XXI

GOM, LLC, Energy XXI Gulf Coast, LLC, EPL Oil & Gas, LLC, and M21K, LLC (collectively,

the “Debtors” and, the “Debtors’ Estates”) and as the authorized member of EPL Pipeline,




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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
MLCJR LLC (0875); Cox Oil Offshore, L.L.C. (7047); Cox Operating, L.L.C. (0939); Energy XXI GOM, LLC
(0027); Energy XXI Gulf Coast, LLC (8595); EPL Oil & Gas, LLC (9562); and M21K, LLC (3978).
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L.L.C., Energy XXI Pipeline, LLC, and Energy XXI Pipeline II, LLC (“Cox Affiliates”) seeking

a final order (the “Settlement Order”) (i) approving the proposed settlement by the Trustee, the

Underwriters, 2 and the Hedron Parties under Bankruptcy Rule 9019 and Bankruptcy Code Section

363 (the “Settlement Agreement”), a copy of which attached hereto and made a part hereof as

Exhibit “1”; (ii) authorizing the Trustee to dismiss, with prejudice, the litigation styled Michael

D. Warner, solely in his official capacity as Chapter 7 Trustee of Cox Operating, LLC, MLCJR,

LLC, Cox Oil Offshore, LLC, Energy XXI GOM, LLC, Energy XXI Gulf Coast, LLC, EPL Oil and

Gas, LLC and M21K, LLC v. Miller Insurance Services, et al., Adversary Proceeding No. 24-

03266 (hereinafter, the “Adversary Proceeding”); (iii) authorizing the Trustee to fully perform

his various obligations under the Settlement Agreement including, without limitation, granting

releases to certain settling parties and dismissing claims asserted by the Trustee in the Adversary

Proceeding and in In re Hedron Holdings, LLC, as Owner, and Triton Diving Services, LLC, as

Bareboat Charterer and Owner Pro Hac Vice of D/B Epic Hedron Petitioning for Exoneration

from and/or Limitation of Liability, Case No. 22-205 c/w 21-2295 (the “Hedron Litigation”) with

prejudice and with each party to bear its own costs; and (iv) paying certain sums to (a) the

Underwriters, (b) Fishman Haygood LLP, and (c) Amarillo National Bank (“ANB”), in its capacity

as administrative agent and collateral agent (the “DIP Agent”), acting at the direction of itself and

BP Energy Company (together with ANB, the “DIP Lenders”); (v) authorizing the retention of

$1.3 million of the Settlement Funds by the Debtors’ Estates, free and clear of all liens, claims and

encumbrances, including those of the DIP Lenders; and (vi) approving in full the Trustee’s




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 Capitalized terms that are not defined in this Order are defined by specific reference to the Settlement Agreement
and/or the Motion.
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payment of a final award to Fishman Haygood for its reimbursable expenses and Contingency Fee

Entitlement relating to the Cox Hedron Claims.

        This Court, having jurisdiction and venue to consider the Motion, and with due and proper

notice of the Motion having been provided to all creditors and other parties in interest; and all

objections, if any, to the Motion having been withdrawn, resolved, or overruled; and having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and it appearing that the relief requested in the Motion is fair, reasonable, and in

the best interests of the Debtors, and the Debtors’ Estates, and creditors; and upon all of the

proceedings had before this Court and after due deliberation and sufficient cause appearing

therefore:

        THE COURT HEREBY MAKES THE FOLLOWING FINDINGS: 3

        A.       Jurisdiction and Venue. This Court has jurisdiction to consider the Motion under

28 U.S.C. §§ 157 and 1334. The Motion is a core proceeding under 28 U.S.C. § 157(b) and (o).

Venue of these chapter 7 cases and the Motion in this District is proper pursuant to 28 U.S.C. §§

1408 and 1409.

        B.       Statutory Predicates. The statutory and other legal bases for the relief provided

herein are section 363 of title 11 of the United States Code (the “Bankruptcy Code”), and Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) Rule 9019. The consummation of the

transactions contemplated by the Motion is legal, valid and properly authorized under all

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Bankruptcy Local

Rules for the Southern District of Texas (the “Bankruptcy Local Rules”), and the Trustee has




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  Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
fact when appropriate. See Bankruptcy Rule 7052.
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complied with all of the applicable requirements of the Bankruptcy Code, the Bankruptcy Rules

and the Bankruptcy Local Rules, in respect of such transactions.

       C.      Final Order. This Settlement Order constitutes a final order within the meaning of

28 U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h), and to any extent necessary under

Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as made applicable

by Bankruptcy Rule 7054, this Court expressly finds that there is no just reason for delay in the

implementation of this Settlement Order, waives any stay, and expressly directs entry of this

Settlement Order.

       D.      Notice of Hearing on Motion.         As evidenced by the certificates of service

previously filed with the Court, proper, timely, adequate, and sufficient notice of the Motion and

relief contemplated thereby has been provided in accordance with the Bankruptcy Code,

Bankruptcy Rules and the Bankruptcy Local Rules. The notices described above were good,

sufficient, and appropriate under the circumstances, and no other or further notice of the Motion

is or shall be required. The disclosures made by the Trustee concerning the Motion were good,

complete, and adequate. The requirements of the Bankruptcy Rules and the Bankruptcy Local

Rules are satisfied by such notice.

       E.      Compromise in the Best Interest of the Debtors’ Estates. Good and sufficient

reasons for approval of the Trustee’s proposed settlement with the Hedron Parties and the

Underwriters, and the transactions to be consummated in connection therewith have been

articulated by the Trustee, and the relief requested in the Motion is in the best interests of the

Debtors, the Debtors’ Estates, their creditors and other parties in interest. The Settlement Funds

and Subrogation Funds fall well within the range of reasonableness for the settlement and amicable

resolution of the resolved claims, demands and causes of action as fully set forth in the Settlement
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Agreement. The Settlement Agreement satisfies the factors set forth in Protective Comm. For

Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 425 (1968), Official

Comm. of Unsecured Creditors v. Cajun Electric Power Coop., Inc. (In re Cajun Elec. Power

Coop., Inc.), 119 F.3d 349, 355-56 (5th Cir. 1997), and their progeny. The Trustee has

demonstrated both (a) good, sufficient, and sound business purposes and justifications and (b)

compelling circumstances for the Settlement Agreement outside of the ordinary course of business,

pursuant to section 363(b) of the Bankruptcy Code, outside of a plan of reorganization, in that,

among other things, the immediate consummation of the Settlement Agreement with the Hedron

Parties and the Underwriters is necessary and appropriate to maximize the value of the Debtors’

Estates. The Trustee’s decision to enter into the Settlement Agreement with the Hedron Parties

and the Underwriters constitutes a proper exercise of the Trustee’s fiduciary duties.

            IT IS HEREBY ORDERED THAT:
       1.      The Motion is GRANTED and APPROVED as provided herein.

       2.      All objections to the Motion that have not been withdrawn, waived, or settled are

hereby overruled.

       3.      The Settlement Agreement is approved in all respects and is specifically

incorporated into and made a part of this Settlement Order. To the extent of a conflict between

this Settlement Order and the Settlement Agreement, this Order shall control.

       4.      The Trustee is authorized to enter into, perform, execute, and deliver all documents,

and take all actions, necessary to immediately continue and fully implement the Settlement

Agreement in accordance with the terms, conditions, and agreements set forth therein, all of which

are hereby approved.
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       5.      The DIP Lenders hereby release any and all of their liens, claims, and

encumbrances in and to the Cox Hedron Claims, with such liens, claims, and encumbrances being

transferred in full to the Settlement Funds.

       6.      The DIP Lenders hereby consent to the following distributions set forth in the

Settlement Agreement by the Trustee from the Settlement Funds free and clear of any and all of

the DIP Lenders’ claims, interests and liens, including without limitation the DIP Liens: (i) the

Subrogation Fund to the Underwriters in the amount of $2,833,334; (ii) reimbursement of Fishman

Haygood for costs and expense in the amount of $50,000 and the Contingency Fee Entitlement in

the amount of $3,500,000; and (iii) a carveout for the Debtors’ Estates in the sum of $1,300,000.

The remainder of the Settlement Funds in the amount of $3,316,666 shall be paid to the DIP

Lenders.

       7.      Without limiting the generality of the foregoing, the Trustee’s payments required

under the Settlement Agreement are approved in accordance with the timing and conditions set

forth in the Settlement Agreement:

            a. to the Underwriters, through their counsel, the Subrogation Funds in the sum of

               $2,833,334; and

            b. to Fishman Haygood the sum of (a) $50,000 for reimbursement of expenses and (b)

               $3,500,000 in full and complete satisfaction of its Contingency Fee Entitlement in

               connection with the Hedron Litigation.

       8.      Without limiting the generality of the foregoing, it is further Ordered that, within

five (5) business days following the Trustee’s receipt of the Settlement Funds and the occurrence

of a Final Order (as defined in the Settlement Agreement), the Trustee shall pay to the DIP Agent,
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on behalf of the DIP Lenders, the sum of $3,316,666 in full and complete satisfaction of the DIP

Lenders’ security interest in, to, and upon the Settlement Funds.

       9.      Without limiting the generality of the foregoing, it is further Ordered that, following

the Trustee’s receipt of the Settlement Funds, the Trustee shall grant the releases set forth in the

Settlement Agreement in accordance with the timing and conditions set forth therein.

       10.     Without limiting the generality of the foregoing, it is further Ordered that, $1.3

million of the Settlement Funds shall be retained by the Trustee on behalf of the Debtors’ Estates,

free and clear of all liens, claims and encumbrances, including those of the DIP Lenders.

       11.     Fishman Haygood is hereby made a final award in connection with the Hedron

Litigation of its: (i) Contingency Fee Entitlement, in the sum of $3,500,000; and (ii) expenses in

the sum of $50,000, under Bankruptcy Code sections 328(a) and 330.

       12.     The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, or enforcement of this Settlement Order and the

Settlement Agreement.

Signed: _______________

                                       _______________________________________________
                                          THE HONORABLE CHRISTOPHER LOPEZ
                                            UNITED STATES BANKRUPTCY JUDGE
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AGREED AS TO FORM AND CONTENT:


Dated: April 2, 2025                Respectfully submitted,

                                    STEWART ROBBINS BROWN & ALTAZAN, LLC


                              By:    /s/Paul Douglas Stewart, Jr.
                                    Paul Douglas Stewart, Jr. (La. Bar # 24661)
                                    Admitted to Southern District of Texas
                                    (SDTX Federal No. 432642)
                                    dstewart@stewartrobbins.com
                                    William S. Robbins (Tx. Bar # 24100894)
                                    wrobbins@stewartrobbins.com
                                    301 Main Street, Suite 1640
                                    Baton Rouge, LA 70801-0016
                                    Telephone: (225) 231-9998
                                    Facsimile: (225) 709-9467

                                    Counsel for Michael D. Warner,
                                    Chapter 7 Trustee


Dated: April 2, 2025                KELLY HART PITRE


                              By:   /s/ Louis M. Phillips
                                    Louis M. Phillips (LA #10505)
                                    One American Place
                                    301 Main Street, Suite 1600
                                    Baton Rouge, LA 70801-1916
                                    Telephone: (225) 381-9643
                                    Facsimile: (225) 336-9763
                                    Email: louis.phillips@kellyhart.com

                                    Counsel to Amarillo National Bank,
                                    in its capacity as administrative agent
                                    and collateral agent, acting at the
                                    direction of itself and BP Energy Company
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                  EXHIBIT 1 – SETTLEMENT AGREEMENT

                                    TO:

 ORDER PURSUANT TO BANKRUPTCY CODE SECTION 363 AND BANKRUPTCY
   RULE 9019 APPROVING SETTLEMENT WITHTHE HEDRON PARTIES &
         UNDERWRITERS; AUTHORIZING THE DISTRIBUTION OF
    THE PROCEEDS FROM THE SETTLEMENT AND THE RETENTION OF
        FUNDS BY THE ESTATE FREE AND CLEAR OF CLAIMS AND
        ENCUMBRANCES; APPROVAL OF CONTINGENCY FEE AND
        EXPENSES OF FISHMAN HAYGOOD LLP ON A FINAL BASIS;
                     AND FOR RELATED RELIEF




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   IN WITNESS WHEREOR the Truqles, the Hedron Partie$, and tlre Underwriters have executcd

   thisAgreement on the datcs scl forttr below.


    MICHAEL It. WARNER, acting rolely ln hir      HEI}RON PARTIES
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    Operating L.I".C,, Energr XXI GOM, LLC,
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                       James Collinson

                      FUL Head of Claims

                       02-Apr-2025
